                 CASE 0:17-cv-04136-PJS-BRT Doc. 4 Filed 10/31/17 Page 1 of 1




AO 399(01/09)Waiver ofthe Service ofSummons


                                     United States District Court
                                                                      fertile
                                                              District of Minnesota


                       Mlkael Broslrom                                   )
                             Plaintiff                                   )
                                V,                                       )      Clvii Action No. 0:17-cv-4136
               Standard Insurance Company                                )
                             Defendant                                   '

                                            WAIVER OF THE SERVICE OF SUMMONS

To: Evan Sanford
             i^ame ofthe plaintifTs attorney or tmrepnsentedplaintiff}

       1 have received your request to waive service ofa summons in this action aiong with a copy of the complaint,
two copies ofthis waiver form,and a prepaid means of returning one signed copy of the form to you.
        I, or the entity I represent, agree to save the expense ofserving a summons and complaint in this case.
        I understand llmt I, or the entity I represent, wili keep ail defenses or objections to llie lawsuit, the court's
jurisdiction, and the venue ofthe action, but that 1 waive any objections to tlie absence of a summons or ofservice.
          1 also understand that T, or the entity 1 represent, must file and serve an answer or a motion under Rule 12 within
60 days from               09/05/2017           ,the date when this requesy^ sent(or 90 days if it was sent outside the
United States). If I fail to do so, a defaidtjudgment will be entered agajd^e or the entity I represent.
 D.,e: lO/a)l?                                                                                   Qture ofthe attorney or unrepresented parly

                Standard Insurance Company                                        T^rrQ-n^—J.' Wagenec
        Printed name ofparly waiving service ofsummons                                                        Printed name
                                                                                    ICQ South Fifth Street
                                                                                    Suite 1400
                                                                                    Miiineapolis7-MN-^^J5402
                                                                                    twagenerOmesseriikramer.com
                                                                                                              K'mall address
                                                                                   612-672-3600
                                                                                                            Telephone number

                                            Duly lo Avoid Unncccsfary Expeoscs ofServing a Summons
            Itule-i nfllw I-ctlcral RtilcsofCivIl Prnccdiirc wiuilrc.s ojrtnin defendants lo cooperate in saying luincccssaiycxpciiMSofficrylnEO summons
  and coinplnini. A defendant who h located in the United Stoics ond wh» ftiUs to return a signed vraiver ofservice raqtiestcd by a plnintilT located in
  the United Slutes will be retinired to pay tlic expenses ofservice, unless the defendant shows good cousc for the ftliure.
           "Oood cause" does not Include a beliefthat the lowsuit is groundless,or that it has been brought in an improper venue,or that the court has
  no Jurisdiction over this matter or over the defendant or the defendant's property.
            Ifthe waiver is signed and returned, you can slill make these and all other defenses and objections, but you cannot object to tlic absence of
  a summons or of service.

             Ifyou waive service, tlicn you must,within the time specified on the wid vcr form,serve an answer or a raoUon under Rule 12on the plaintilT
  and file a copy with the court. By signing nnd returning the waiver fomi, you are allowed more time to respond llian ifa summons had been servco.
